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11
                               UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN JOSE DIVISION

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      FEDERAL TRADE COMMISSION,                         Case No. 5:17-cv-00220-LHK-NMC
16
                           Plaintiff,                   PLAINTIFF FEDERAL TRADE
17                                                      COMMISSION’S RESPONSE TO
                    vs.                                 QUALCOMM’S BRIEF RE OFFER OF
18
      QUALCOMM INCORPORATED, a                          PROOF
19    Delaware corporation,
20                         Defendant.
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                                                                       PLAINTIFF FTC’S RESPONSE TO
                                                                QUALCOMM’S BRIEF RE OFFER OF PROOF
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 1           At the close of Trial Day 8 on January 22, 2019, Qualcomm disclosed for the first time

 2   that it intends to submit a written offer of proof outlining post-discovery evidence that it would

 3   have offered at trial but for the Court’s prior orders enforcing the March 30, 2018 discovery

 4   cutoff in this case. 1 Following a meet and confer on January 23, 2019, Qualcomm filed a brief

 5   requesting the opportunity to submit its offer of proof early on Trial Day 9, January 25, 2019. See

 6   Qualcomm’s Brief Re Offer of Proof (ECF No. 1394). Qualcomm’s proposed offer of proof is

 7   unnecessary and as framed, could allow Qualcomm to bypass other requirements for

 8   admissibility, including compliance with the Court’s disclosure deadlines.

 9           As an initial matter, an offer of proof is not necessary in response to the Court’s prior

10   orders because those orders were not tentative or without prejudice. See United States v.

11   McElmurry, 776 F.3d 1061, 1066 n.24 (9th Cir. 2015) (citing Fed. R. Evid. 103(b)) (“Once the

12   court rules definitively on the record, either before or at trial, a party need not renew an objection

13   or offer of proof to preserve a claim of error for appeal.”); see also Heyne v. Caruso, 69 F.3d

14   1475, 1481 (9th Cir. 1995) (no offer of proof required where “an entire class of evidence has been

15   in advance formally declared inadmissible by the trial court”). The general substance of the post-

16   discovery evidence excluded by the Court’s orders is apparent from the context of the orders and

17   the briefing that preceded it: multiple Qualcomm briefs described the general types of post-

18   discovery evidence that Qualcomm proposed to introduce at trial (although they did not fully

19   encompass the specific exhibits that Qualcomm now says it wants to offer). See ECF Nos. 873,

20   929, 933 (seeking to introduce post-discovery license agreements and documents reflecting
21   purported post-discovery market developments); see also Fed. R. Evid. 103(a)(2). As the Court
22   noted at trial, two post-discovery license agreements have already been attached under seal to
23   prior briefing. See ECF Nos. 791-7, 1206 at 2 (order sealing Exs. 3-7).
24           In addition, as framed, Qualcomm’s proposed offer of proof would make an end-run

25   around other requirements for admissibility, including compliance with the Court’s case-

26   1
      See Order Denying Qualcomm’s Request to Introduce Evidence of Post-Discovery Events (ECF
27   No. 997, Dec. 13, 2018); Order Granting the FTC’s Motion to Exclude Expert Testimony of Prof.
     Nevo (ECF No. 1015, Dec. 17, 2018); Order Granting FTC’s Third Motion in Limine (ECF No.
28   995, Dec. 13, 2018).


                                                                       PLAINTIFF FTC’S RESPONSE TO SUBMIT
                                                       1              QUALCOMM’S BRIEF RE OFFER OF PROOF
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 1   management procedures. Qualcomm’s proposed proffer includes documents that it never included

 2   on its exhibit list and which lack a sponsoring witness, are hearsay, or are otherwise not

 3   admissible.

 4           The Court has broad discretion to set deadlines and other procedures for case

 5   management, see, e.g., Navellier v. Sletten, 262 F.3d 923, 941-42 (9th Cir. 2001), and the Court

 6   set clear requirements for pre-trial disclosures and evidentiary limits in this case. See, e.g., ECF

 7   No. 922 (“By November 27, 2018, the parties shall exchange a final pretrial list of up to 450

 8   exhibits per side.”). In spite of these requirements, Qualcomm now seeks to submit an offer of

 9   proof involving documents that were not disclosed on Qualcomm’s November 27 exhibit list—

10   even though the Court’s mid-December orders denying Qualcomm’s request to introduce post-

11   discovery evidence post-date that disclosure. 2 In other words, as of November 27, Qualcomm had

12   no reason to exclude documents from its exhibit list because of the Court’s mid-December orders.

13   If Qualcomm wanted to allocate space on its exhibit list or trial time for the evidence it now seeks

14   to proffer, it should have done so from the start. It should not be allowed to revisit its decisions

15   now and use a proffer to improperly expand the record. Qualcomm’s belated attempt to create a

16   record for appeal in circumvention of this Court’s case management procedures should not be

17   condoned. See generally Heyne, 69 F.3d at 1481–82; Alan Wright et al., 21 Fed. Practice & Proc.

18   Evid. § 5034.4 (2d ed. 2018) (“[I]t has been held that Rule 103 does not apply to objections to the

19   trial court’s limiting the time for trial of the case to two days even though this means that the

20   parties will have to forego the use of evidence to meet this deadline.”).
21           Moreover, the proposed offer of proof could permit Qualcomm unfairly to bypass other
22   requirements for admissibility at trial. The proposed offer would evade the Court’s requirement to
23   admit documents through a sponsoring witness, and the documents cited by Qualcomm are not
24
     2
      For example, Qualcomm seeks to offer proof of 59 post-discovery license agreements, when
25   only five of these agreements were on its November 27 exhibit list. See ECF No. 950-13.
26   Qualcomm’s November 27 exhibit list did include a proposed summary exhibit that purported to
     summarize 37 post-discovery license agreements. See also Qualcomm’s Proposed Findings of
27   Fact, at 13 ¶ 83 (“29 such agreements were entered in 2018”). Neither of the FCC statements
     Qualcomm proposes to proffer were on Qualcomm’s November 27 exhibit list. See ECF No. 950-
28   13.

                                                                        PLAINTIFF FTC’S RESPONSE TO SUBMIT
                                                        2              QUALCOMM’S BRIEF RE OFFER OF PROOF
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 1   plainly admissible on their face. For example, Qualcomm has made no showing of how it would

 2   introduce third-party statements (e.g., “5G modem announcements”) that would be subject to

 3   hearsay or foundation objections. And yet Qualcomm seeks to write or read into an offer of proof

 4   broad categories of proposed evidence without identifying sponsoring witnesses, foundation, or

 5   other bases for admissibility. See Gibson v. King Cty., 256 F. App’x 39, 42 (9th Cir. 2007)

 6   (finding no abuse of discretion in excluding evidence where offer of proof did not show “the

 7   necessary foundation for admissibility”); see also Perkins v. Silver Mountain Sports Club & Spa,

 8   LLC, 557 F.3d 1141, 1150 (10th Cir. 2009) (finding offer of proof insufficient where it did not

 9   “identify the grounds for admitting the evidence”).

10            Qualcomm’s offer of proof is untimely and prejudicial to the FTC. Qualcomm has known

11   of the Court’s orders regarding post-March 2018 evidence for over a month. If Qualcomm wanted

12   to seek the Court’s guidance regarding the proper format for an offer of proof, it could have done

13   so in advance of trial. By waiting until the end of the eighth trial day to raise this issue,

14   Qualcomm has deprived the Court of an opportunity to require that the offer take place by

15   question and answer with live witnesses or that Qualcomm make the requisite showing of

16   admissibility throughout the trial. See Fed. R. Civ. P. 103(c). One of Qualcomm’s proposed offers

17   of proof, for example, relates to the live testimony of witnesses from Intel and MediaTek. 3 These

18   witnesses finished testifying days before Qualcomm brought its offer of proof proposal to the

19   Court’s and the FTC’s attention. Moreover, Qualcomm’s belated disclosure has deprived the FTC

20   of a reasonable opportunity to consider its response to Qualcomm’s proposal, including other
21   potential objections or responses it may have had to the proffered evidence.
22            Any offer of proof on post-2018 evidence that was previously disclosed in compliance
23   with the Court’s scheduling orders should be made on the trial record during Qualcomm’s allotted
24   trial time. Offers of proof are designed “to let the trial judge ‘reevaluate [the] decision in light of
25   the actual evidence to be offered’ and to help the reviewing court decide whether ‘exclusion
26   affected the substantial rights’ of the offering party. In other words, the reason for requiring offers
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         Another proposed offer of proof relates to testimony of Qualcomm executive Cristiano Amon.

                                                                         PLAINTIFF FTC’S RESPONSE TO SUBMIT
                                                        3               QUALCOMM’S BRIEF RE OFFER OF PROOF
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 1   of proof is to help the trial judge and any later reviewing court do the right thing.” 1 Christopher

 2   B. Mueller, Laird C. Kirkpatrick, Fed. Evid. § 1:13 (4th ed. 2018) (internal citations omitted).

 3   Accordingly, it is within the Court’s discretion to determine the method of an offer of proof,

 4   including whether the proffer should occur by question and answer on the trial record. See Fed. R.

 5   Evid. 103(c) (providing that “[t]he court may direct that an offer of proof be made in question-

 6   and-answer form”); see also Fidelity Savings & Loan v. Aetna Life and Casualty Co., 647 F.2d

 7   933, 937 (9th Cir. 1981) (explaining that under Rule 103(b), the form of offers of proof is left to

 8   discretion of trial judge); United States v. Barta, 888 F.2d 1220, 1223 (8th Cir. 1989) (finding a

 9   failure to make a proper offer of proof regarding excluded testimony when the witness “was

10   present in the courtroom” and could have been asked questions forming the basis for an offer of

11   proof, but was not). Indeed, some courts have found that an offer of proof by counsel is the “least

12   favored method because of its potential to fall short of the standard required by the rules of

13   evidence.” See United States v. Adams, 271 F.3d 1236, 1242 (10th Cir. 2001). Requiring

14   Qualcomm’s offer of proof to be made on the trial record, in a matter that establishes the

15   foundation for admissibility, would provide the FTC with an opportunity to object to specific

16   testimony or documents that Qualcomm seeks to offer, including for the reasons detailed above,

17   and establish what evidence would have been excluded by operation of other case management

18   orders or barriers to admissibility rather than through the Court’s enforcement of a discovery

19   cutoff.

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                                                                       PLAINTIFF FTC’S RESPONSE TO SUBMIT
                                                       4              QUALCOMM’S BRIEF RE OFFER OF PROOF
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     Dated: January 24, 2018
 1                                            Respectfully submitted,
 2
                                              FEDERAL TRADE COMMISSION,
 3

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                                                        PLAINTIFF FTC’S RESPONSE TO SUBMIT
                                          5            QUALCOMM’S BRIEF RE OFFER OF PROOF
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